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 15

 16                            UNITED STATES DISTRICT COURT
 17                       CENTRAL DISTRICT OF CALIFORNIA
 18
      ENTTECH MEDIA GROUP LLC,                  Case No. 2:20-cv-06298 JWH (Ex)
 19
                  Plaintiff,                    Hon. John W. Holcomb
 20
      v.                                        DEFENDANTS’ JOINT REPLY
 21                                             MEMORANDUM OF POINTS &
      OKULARITY, INC. et al.,                   AUTHORITIES IN SUPPORT OF
 22                                             MOTION TO DISMISS THIRD
                  Defendants.                   AMENDED COMPLAINT
 23
                                                Date:               Feb. 11, 2021
 24                                             Time:               2:00 p.m.
                                                Place:              N/A
 25
                                                Compl. filed:       July 15, 2020
 26
                                                No Trial Date Set
 27

 28


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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION
  3         Consistent with its usual practice, ENTtech Media Group LLC’s Opposition to
  4   Defendants’ Motion to Dismiss is a dog’s breakfast of case citations and quotations
  5   from the Third Amended Complaint (“TAC”), largely devoid of analysis except for
  6   what appears in case parentheticals and conclusory statements that follow. That
  7   approach may work in cases where a plaintiff has meritorious claims to assert. Here,
  8   though, ENTtech does not. Its claims are hopelessly deficient, and merely repeating
  9   in a brief the poorly pleaded allegations while adding largely inapposite authority
 10   does not aid in saving them.
 11         ENTtech’s Opposition does not even address each of the deficiencies that
 12   Defendants raised in the Joint Memorandum in support of the motion to dismiss. The
 13   arguments made in opposition fail to show that the TAC states valid claims and fail
 14   to show that the claims can be pleaded in yet another amendment. As such, both the
 15   claim under the Digital Millennium Copyright Act (“DMCA”) and the RICO claim
 16   should be dismissed with prejudice.
 17   II.   ARGUMENT
 18         A.     ENTtech has not pleaded any Noerr-Pennington exception.
 19         ENTtech’s arguments against application of the Noerr-Pennington doctrine fall
 20   well short. None of the three Noerr-Pennington exceptions applies here.
 21                1. ENTtech has not shown that Defendants’ copyright claims are
 22                   objectively baseless.
 23         ENTtech’s Opposition acknowledges that an action is objectively baseless
 24   when “no reasonable litigant could realistically expect success on the merits.”
 25   (Opp’n at 9.) This standard requires ENTtech to plead facts showing either that the
 26   Photo Agencies do not own valid copyright registrations or ENTtech has not
 27   infringed them. ENTtech fails to do so: each of its arguments crumbles under
 28   scrutiny.
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  1           First, ENTtech argues that the Photo Agencies had no right to issue DMCA
  2   notices because they did not possess exclusive rights in the photos. (Opp’n at 9.) This
  3   is a bald assertion, without support, that the Court need not accept as true. It fails
  4   spectacularly given that the Photo Agencies have valid copyright registrations for
  5   each of the photos—and ENTtech itself has asked the Court to take judicial notice of
  6   these registrations. (ECF 35-1, Ex. A-1 to A-6.) ENTtech does not plead any facts
  7   showing that the Photo Agencies entered into written agreements assigning away
  8   ownership or providing an exclusive license. Absent such facts, this argument fails.
  9           Second, ENTtech argues that “three of the photographs are actually owned by
 10   AKM-GSI Media, Inc.,” not Defendants. (Opp’n at 9.) But ENTtech itself asked the
 11   Court to take judicial notice of the Photo Agencies’ copyright infringement complaint
 12   against ENTtech, in which the Photo Agencies pleaded that they own the copyright of
 13   all the photos in question. (ECF 35-1.) ENTtech is not privy to assignment
 14   agreements between AKM-GSI Media and BackGrid, for example. But even so, this
 15   alleged “defect” applies to only three photographs out of 49. The Photo Agencies’
 16   copyright claims, wholly considered, are not objectively baseless on this ground.
 17           Third, ENTtech argues that the copyright registration of one photograph lists
 18   “Maria Buda of AKM-GSI” in the “rights and permissions” section. But this portion
 19   of the copyright registration certificate informs potential licensees who to contact for
 20   “rights and permissions” to use the photograph. See Circular 18, Privacy: Copyright
 21   Public Records, at 3 (U.S. Copyright Office). 1 It does not relate to ownership at all,
 22   and ENTtech’s argument otherwise is as embarrassing as it is wrong. The Photo
 23   Agencies’ copyright claims are not objectively baseless on this ground.
 24           Fourth, ENTtech argues that “many” of the photographs were “distributed
 25   widely across the internet,” which ENTtech suggests is an implicit invitation—if not
 26   outright authorization—for anyone to use the photographs. (Opp’n at 10.) What
 27   ENTtech is describing is either legitimate licensing or wide-scale infringement, the
 28   1
          Available at https://www.copyright.gov/circs/circ18.pdf.
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  1   very thing that the Photo Agencies are fighting against. The Photo Agencies’
  2   copyright claims against ENTtech are not objectively baseless simply because
  3   ENTtech wrongly interpreted copyright principles as allowing it to misuse the
  4   photographs because they were “widely distributed.” This argument fails.
  5         Fifth, ENTtech argues that the claims are objectively baseless because “nobody
  6   made any inquiry” to determine whether the Photo Agencies owned “exclusive
  7   rights.” (Opp’n, at 10:10-14.) This non-sensical allegation misses the mark for the
  8   same reason as the allegation, discussed above, that the Photo Agencies did not
  9   possess exclusive rights in the photos. In fact, the Photo Agencies hold valid
 10   copyright registrations. Absent facts to the contrary, this argument fails.
 11         Finally, ENTtech further argues that certain conduct of Defendants is
 12   “objectively baseless from beginning to end.” (Opp’n at 9; see also Opp’n at 10-11.)
 13   But the sham inquiry focuses on the objective validity of Defendants’ claims, not
 14   their conduct. This argument fails as well.
 15         Given ENTtech’s failure to demonstrate objective baselessness, the Court need
 16   not even consider whether the claims were instituted in bad faith. See White v. Lee,
 17   227 F.3d 1214, 1232 (9th Cir. 2000) (“Because, in the present case, the first
 18   requirement cannot be sustained, we need not even consider the second.”). “Objective
 19   baselessness is the sine qua non of any claim that a particular lawsuit is not deserving
 20   of First Amendment protection.” Id. Without it, as here, the first Noerr-Pennington
 21   exception does not apply.
 22                2. The second exception does not apply in the context of a single
 23                   judicial proceeding.
 24         ENTtech argues that the second Noerr-Pennington exception applies where
 25   conduct involves “a series of claims.” (Opp’n at 11:21-22 (citing Sosa v. DIRECTV,
 26   Inc., 437 F.3d 923, 938 (9th Cir. 2006), and Kottle v. Nw. Kidney Centers, 146 F.3d
 27   1056, 1060 (9th Cir. 1998).) Not so. All the cases cited by ENTtech state that the
 28   second exception applies “where the conduct involves a series of lawsuits.” Sosa, 437
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  1   F.3d at 938; see also Kottle, 146 F.3d at 1060 (“if the alleged anticompetitive
  2   behavior is the filing of a series of lawsuits …”); USS-POSCO Indus. v. BE & K
  3   Constr. Co., 31 F.3d 800, 811 (9th Cir. 1994) (sham litigation precedent “deal[t] with
  4   the case where the defendant is accused of bringing a whole series of legal
  5   proceedings”); Andersen v. Atl. Recording Corp., No. 07-cv-934-BR, 2009 WL
  6   3806449, at *7 (D. Or. Nov. 12, 2009) (applying the exception to a “series of
  7   lawsuits”).
  8         Here, clearly, the conduct does not involve a series of lawsuits. ENTtech
  9   doesn’t plead or argue that it does. Rather, ENTtech argues that this exception applies
 10   because Okularity sent numerous DMCA takedown notices. There is no support for
 11   this assertion. The second Noerr-Pennington exception does not apply.
 12                 3. The third exception does not apply to extra-judicial conduct.
 13         ENTtech recognizes that the third sham litigation exception involves the
 14   making of knowing misrepresentations to the Court. (Opp’n at 13:20-21.) Indeed, the
 15   Ninth Circuit has clearly defined the scope of the third exception:
 16                 [I]n the context of a judicial proceeding, if the alleged
                    anticompetitive behavior consists of making intentional
 17                 misrepresentations to the court, litigation can be deemed a sham
                    if a party’s knowing fraud upon, or its intentional
 18                 misrepresentations to, the court deprive the litigation of its
                    legitimacy.
 19

 20   Kottle, 146 F.3d at 1060 (internal quotation marks and citations omitted). The third
 21   exception thus contains two prerequisites: a judicial proceeding, and intentional
 22   misrepresentation to (or fraud upon) the Court.
 23         Neither of these prerequisites are present here. ENTtech makes no allegations
 24   that misrepresentations were made in a judicial proceeding involving “a party’s
 25   knowing fraud upon, or its intentional misrepresentations to, the court,” and the
 26   Opposition identifies none. Instead, ENTtech focuses on alleged misrepresentation in
 27   extra-judicial communications—specifically, DMCA takedown notices, which were
 28   presented to a non-governmental third party, Instagram. (Opp’n 13:25-14:2.)
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  1   ENTtech cites no case, and Defendants have found none, that applies this exception
  2   to alleged extra-judicial misrepresentations. The third exception thus does not apply.
  3                                             ***
  4         ENTtech has failed to show that any Noerr-Pennington exception applies here.
  5   Accordingly, Defendants’ conduct is immune from RICO liability under the doctrine,
  6   and the RICO claim should be dismissed with prejudice.
  7         B.     The RICO claim does not survive scrutiny.
  8         ENTtech’s RICO claim suffers from several problems. ENTtech’s Opposition
  9   clearly fails to adequately address at least two of them, which are fatal.
 10                1. The predicate acts are factually and legally inadequate.
 11         ENTtech has no answer to Defendants’ showing that the predicate acts are not
 12   adequately pleaded. ENTtech does not address its pleading of the predicate act at all.
 13         With respect to mail fraud as a predicate act, Defendants argued that ENTtech
 14   did not plead use of the mail, only the use of automated systems and email. ENTtech
 15   has no answer. Because the TAC contains no allegations concerning use of the mail,
 16   mail fraud cannot support the RICO claim.
 17         With respect to wire fraud as a predicate act, Defendants raised as a defense
 18   the requirement that pleading a “scheme to defraud” for purposes of the wire fraud
 19   statute requires ENTtech to plead facts that would exclude “plausible or innocuous
 20   alternative explanations” for any fraudulent intent. See Blue Oak Med. Group v. State
 21   Comp. Ins. Fund, No. 2:18-cv-3867-RGK (SKx), 2018 WL 6219892 (C.D. Cal.
 22   Nov. 7, 2018). The obvious plausible alternative explanation here is that the DMCA
 23   worked as it was supposed to because ENTtech’s Instagram posts were infringing.
 24   Despite the requirement that RICO plaintiffs plead around obviously plausible
 25   alternatives, ENTtech does not allege noninfringement (e.g., fair use), nor did it
 26   accept the clear invitation to address this issue in its Opposition. Under Blue Oak
 27   Medical, wire fraud cannot support the RICO claim.
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  1         Finally, as to extortion as a predicate act, ENTtech fails to address any of the
  2   authority requiring it to plead that any use of economic pressure by Defendants was
  3   “wrongful”—that is, that Defendants do not have legitimate legal claims under the
  4   Copyright Act. This would require ENTtech to allege that its Instagram posts were
  5   non-infringing—again, allegations and argument that ENTtech has proven unwilling
  6   to make. Without them, extortion cannot support the RICO claim. 2
  7                2. ENTtech’s inconsistent allegations cannot plead a pattern.
  8         In addressing the “pattern” requirement of RICO, ENTtech provides four lines
  9   of text that merely repeats the allegations of its FAC. It cites no authority and
 10   provides no analysis. (Oppn at 19:2-6.) But Defendants’ Joint Memorandum showed
 11   why these allegations are insufficient, and ENTtech has no answer.
 12         Moreover, the available evidence (submitted by ENTtech) tends to undermine
 13   its allegations. ENTtech’s Request for Judicial Notice (ECF 35-1) contains 19
 14   DMCA counternotifications submitted by ENTtech’s counsel. Everyone of them
 15   shows that Okularity’s DMCA takedown notices were sent in the month of June,
 16   ranging from June 5 to June 23. This short period of a few weeks is legally
 17   insufficient to support a RICO element of a “pattern” of racketeering activity.
 18         C.     The revised allegations in the TAC invalidate the DMCA claim.
 19         ENTtech filed the TAC in response to this Court’s Order to Show Cause,
 20   which instructed ENTtech to “cure[] each of the allegedly offending allegations …
 21   that Defendants challenge in their Motion for Sanctions.” (ECF 54, at 5:17-20.)
 22   Having done so, ENTtech now asserts that the challenge to its DMCA claim has
 23   previously been adjudicated and that the Defendants are merely rehashing failed
 24   2
        ENTtech does not argue that Defendants do not have legitimate copyright claims
      because those claims are a “sham.” (ENTtech makes no arguments at all as to the
 25   predicate acts.) If ENTtech did make such an argument, though, that argument would
      fail for the same reasons discussed above as to the Noerr-Pennington sham
 26   exceptions. See Sosa, 437 F.3d at 940-41 (in applying Noerr-Pennington exemption,
      federal Hobbs Act does not “impose[] liability for threats of litigation were the
 27   asserted claims do not rise to the level of a sham,” and state extortion claim
      predicated on threat to sue requires allegation that threated sue was “objectively
 28   baseless”).
                                                  6
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  1   arguments. But that’s not true: in attempting to satisfy the Order to Show Cause,
  2   additional allegations in the TAC, along with other documents the Court may
  3   consider, demonstrate that the DMCA claim is without merit.
  4                 1. Precedent requires ENTtech to plead a lack of subjective good
  5                    faith belief.
  6          To satisfy Section 512(f), the Ninth Circuit has repeatedly affirmed that a
  7   copyright holder, before sending a DMCA notice, “need only form a subjective good
  8   faith belief that a use is not authorized.” Lenz v. Universal Music Corp., 815 F.3d
  9   1145, 1153 (9th Cir. 2016) (citing Rossi v. Motion Picture Ass’n of Am. Inc., 391
 10   F.3d 1000 (9th Cir. 2004)). But “a full investigation to verify the accuracy of a claim
 11   of infringement is not required” to form meet the requirement. Lenz v. Universal
 12   Music Corp., 572 F. Supp. 2d 1150, 1155-56 (N.D. Cal. 2008) (citing Rossi, 391 F.3d
 13   at 1003-04). Rather, while “some evaluations of fair use will be more complicated
 14   than others, … in the majority of cases, a consideration of fair use prior to issuing a
 15   takedown notice will not be so complicated as to jeopardize a copyright owner’s
 16   ability to respond rapidly to potential infringements.” Id. at 1155.
 17          This is not an exacting review. “[A]t minimum,” it requires only “an initial
 18   assessment as to whether the fair use doctrine applies to the use in question …. .”
 19   Lenz v. Universal Music Corp., No. 5:07-cv-3783-JF, 2013 WL 271673, at *6 (N.D.
 20   Cal. Jan. 24. 2013). Defendants’ liability in Lenz—the leading and controlling case
 21   on this issue, as ENTtech admits—turned on allegations there that “Universal did not
 22   form any subjective belief about the video’s fair use—one way or another—because
 23   it failed to consider fair use at all, and knew that it failed to do so.” Id. at 1154.
 24          In sum, satisfying Section 512(f) does not require an exacting consideration of
 25   fair use principles. Only so much consideration as to form a subjective good-faith
 26   belief is required, and only the complete failure to consider fair use—and the
 27   knowledge that one failed to do so when submitting a DMCA takedown notice—has
 28   previously been found to violate this standard. Here, the allegations are insufficient to
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  1   plead the lack of subjective good-faith belief, and both judicially noticeable evidence
  2   and documents incorporated by reference in the TAC show that the Court need not
  3   credit ENTtech’s bald allegations that “Okularity submits these [DMCA takedown]
  4   notices without any of the analysis required by the DMCA.” (TAC ¶ 15.)
  5                2. The allegations and evidence show that ENTtech has not and
  6                   cannot plead this requisite element.
  7         ENTtech’s Opposition makes clear that the DMCA claim rises and falls on an
  8   alleged misrepresentation of “good faith belief,” which flows entirely from
  9   ENTtech’s allegation that Defendants did not consider fair use before sending the
 10   DMCA takedown notices. (TAC ¶ 15.) But the Opposition wholly fails to address
 11   Defendants’ argument that the Court need not accept that allegation as true because it
 12   is contradicted by judicial admissions and documents that are referenced in the
 13   Complaint and subject to judicial notice.
 14         The new allegations—the judicial admissions—reveal that Okularity did in fact
 15   consider fair use before submitting the DMCA takedown notices. (TAC ¶ 15 (“many
 16   or all of the DMCA notices contained identical verbatim discussion of infringement
 17   and fair use”) (emphasis added).) ENTtech asserts that Defendants’ argument
 18   “distorts” the TAC. But ENTtech has submitted documents to the Court, and
 19   requested judicial notice of them, showing that fair use was considered. (ECF 35-1.)
 20   The documents are 19 DMCA counternotifications that ENTtech’s counsel caused to
 21   be sent to Instagram, and those counternotifications contain the text of the DMCA
 22   takedown notices that Okularity sent. Each of the takedown notices contains an
 23   extensive discussion of fair use. (RJN Ex. 1, at 104, 108, 110, 112, 114, 117, 121,
 24   124, 126, 129, 132, 134, 136, 138, 140, 142, 144, 146, 149.) The language in the
 25   takedown notices is actual analysis, separately discussing four different legal points
 26   about why ENTtech’s use of each image was not fair. The language is the same in
 27   each of the takedown notices because ENTtech’s use was the same, and the same
 28   analysis applied. Given the judicial admissions and judicially noticeable documents,
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  1   the Court need not accept as true ENTtech’s baseless allegation that Okularity
  2   submits notices without considering fair use.
  3         To divert attention from the evidence contradicting its key allegations,
  4   ENTtech attempts to emphasize its allegations that it claims satisfy the pleading
  5   requirements. They boil down to this: (1) Okularity automatically generates DMCA
  6   takedown notices, and (2) the DMCA notices are verbatim. (Opp’n at 21.) But these
  7   allegations say nothing about what Okularity does, in terms of analyzing fair use and
  8   forming a “good faith belief” of infringement. Even accepting as true the allegation
  9   that DMCA takedown notice are automatically generated, it is not a reasonable
 10   inference to conclude that Okularity subsequently does not consider fair use. Nor is it
 11   reasonable to infer that fair-use analysis is not conducted merely because the
 12   takedown notices are identical. In the end, ENTtech is left with nothing but a bald
 13   assertion—which need not be credited—that Okularity submits DMCA takedown
 14   notices without conducting a fair-use analysis.
 15         Finally, the Court may also consider the Declaration of Jon Nicolini in ruling
 16   on this Motion to Dismiss. (ECF 39-7.) The Nicolini Declaration is referenced in the
 17   TAC. (TAC ¶ 15.) Under well-settled principles, “because [ENTtech’s] own
 18   Complaint referenced the documents attached to [defendants’] dispositive motion,”
 19   here, the Nicolini Declaration, “the district court could consider those documents
 20   without converting the motion into a summary judgment motion.” See, e.g., Spencer
 21   v. City of Spokane, -- Fed. Appx. ----, 2020 WL 7009655, at *1 n.1 (9th Cir. Nov. 27,
 22   2020). In the TAC, ENTtech pleaded the Declaration only to declare that it does not
 23   believe it. (TAC ¶ 15.) Unfortunately for ENTtech, its belief—or in this case,
 24   disbelief—is not an adequate basis to plead a valid claim or to survive a motion to
 25   dismiss. The DMCA claim should be dismissed.
 26         D.     Dismissal should be with prejudice.
 27         ENTtech should be denied leave to file yet another iteration of its complaint.
 28   The Court’s discretion to deny leave to amend is “particularly broad” where plaintiff
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  1   has previously amended. Allen v. City of Beverly Hills, 911 F.2d 367, 373 (9th Cir.
  2   1990). ENTtech has now filed four versions of its claims, each one with only the bare
  3   minimum of changes—this despite having been repeatedly informed, through motion
  4   practice, letters, and declarations—of the repeated deficiencies. Another attempt
  5   would be equally as futile.
  6          ENTtech asserts that information learned in discovery would salvage its
  7   claims. But ENTtech neither describes that information nor explains how it would be
  8   relevant a fifth attempt to plead valid claims. Considering that failure, the Court
  9   should deny leave to amend. “A plaintiff may not in substance say ‘trust me,’ and
 10   thereby gain a license for further amendment when prior opportunity to amend has
 11   been given.” Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1133 (9th Cir. 2013)
 12   (affirming denial of leave to amend when plaintiff represented that it had additional
 13   facts to cure complaint deficiencies “but never proffered these facts to the court”).
 14   III.   CONCLUSION
 15          The Court grant the motion and dismiss the case without leave to amend.
 16   Dated: January 27, 2021        Respectfully submitted,
 17                                  PERKOWSKI LEGAL, PC
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 20                                        Attorneys for Defendants
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      Dated: January 27, 2021        ONE LLP
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 27                                        Xposure Photo Agency, Inc.
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                       REPLY MEMO OF Ps & As IN SUPPORT OF MOTION TO DISMISS
